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       EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                 Chapter 11
In re:
                                                                 Case No. 22-11068 (JTD)
                                  1
FTX TRADING LTD., et al.,
                                                                 (Jointly Administered)
                                  Debtors.



                                      ORDER DENYING MOTION

         Upon the Motion of Debtors for Entry of an Order (i) Authorizing and Approving Entry

Into, and Performance Under, the Collateral Claim Settlement Agreement, the Inter-Debtor

Restructuring Agreement, and the Restructuring Payment Agreement and (ii) Granting Related

Relief, (D.I. 11626) (the “The Motion”) and the objection of Daniel Friedberg thereto; and this

Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012; and this Court being able to issue a final order consistent with

Article III of the United States Constitution; and venue of these Chapter 11 Cases and the Motion

in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter being a core

proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper and adequate

notice of the Motion and the relief requested therein has been provided in accordance with the

Bankruptcy Rules and the Local Rules, and that, except as otherwise ordered herein, no other or

further notice is necessary; and upon the record of the hearing and all of the proceedings had before


1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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this Court; and this Court having found and determined that the relief requested in the Motion is

not warranted should not be approved; and after due deliberation and sufficient cause appearing

therefor;

       1.      The Motion is DENIED in its entirety.

       2.      This Court shall retain jurisdiction with respect to any matters, claims, rights, or

disputes arising from or related to this Order.




Dated: __________________                                     ______________________________

       Wilmington, Delaware                                   The Honorable John T. Dorsey
                                                              United States Bankruptcy Judge




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